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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA )
)
Vv. ) Criminal Action No. 25- 4 a UN&
RAKESHKUMAR PATEL
Defendant.
INFORMATION

The Acting United States Attorney for the District of Delaware charges that:

COUNT 1
(Conspiracy to Commit Wire Fraud)

INTRODUCTION

1. The Defendant, Rakeshkumar Patel, and other unknown
individuals (the “CO-CONSPIRATORS”) orchestrated a scheme to defraud
elderly victims of their savings across the country, including in the District of
Delaware, by (1) contacting victims over the phone and impersonating federal
agents using the aliases of real, former federal agents, (ii) convincing the victims
that their identities had been stolen and that they were the subject of fake federal
investigations, (i111) directing the victims to lquidate their savings, convert their
savings into cash or gold, and provide that cash or gold to individuals posing as
federal agents for “safekeeping”; and (iv) arranging for couriers who knew about the
existence of the fraudulent scheme to pick up the cash or gold from the

victims’ residences or other public places.
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MANNER AND MEANS OF THE CONSPIRACY

2. From in or around May 2023 to in or around May 2024, Defendant
Rakeshkumar Patel conspired with the CO-CONSPIRATORS to defraud elderly
victims of at least $2,154,889 in the District of Delaware and elsewhere.

3. In this widespread fraud scheme, victims are contacted by a CO-
CONSPIRATOR claiming to work at a federal agency such as the U.S. Drug
Enforcement Administration (“DEA”) or the U.S. Federal Trade Commission
(“FTC”). The purported federal agent informs the victim that they are the subject
of a federal investigation. The purported federal agent tells the victim that their
identity has been stolen and is associated with suspicious criminal activity, and
that they are the subject of a federal investigation. The purported federal agent
calls from numbers appearing to be located in the United States, but the numbers
are actually traceable to India. They also provide the victim with false federal
agent credentials to establish credibility.

A. After establishing apparent credibility, the purported federal agent
informs the victim that they could be subject to criminal liability if they fail to
cooperate with the fake federal investigation. The victim is instructed to convert
their savings to cash or gold and is then directed to give the cash or gold to another
supposed law enforcement officer for safekeeping. In order to keep the victim
from reporting the crime, and to encourage the victim to transfer additional funds
in the future, the victim is told that the funds will be reimbursed back to them

from the U.S. Department of the Treasury.
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5. In reality, the funds are never reimbursed back to the victims. After
the supposed law enforcement officers pick up the cash or gold from the victim,

the cash or gold is laundered and distributed to scheme members.

DEFENDANT AND THE CO-CONSPIRATORS DEFRAUD A VICTIM
IN DELAWARE

6. On August 15, 2023, a Delaware resident—VICTIM 1—answered a
phone call from an unknown CO-CONSPIRATOR who purported to be a DEA
agent. The CO-CONSPIRATOR convinced VICTIM 1 that she was implicated in
a federal investigation. The CO-CONSPIRATOR told VICTIM 1 that she needed
to cooperate with the DEA’s investigation and, if she failed to do so, she could be
subject to criminal penalties. The CO-CONSPIRATOR’s phone number was
traced to an IP address emanating in India.

7. In order to cooperate with the bogus DEA investigation, the CO-
CONSPIRATOR told VICTIM 1 to liquidate funds in her personal bank accounts,
convert those funds to gold, and hand the gold to other purported federal agents
who would pick up the gold from her residence. The CO-CONSPIRATOR told
VICTIM I that the funds would be deposited into an account belonging to the
United States Department of the Treasury for safe keeping, and that the funds
would be returned to her at an unspecified later date. The funds were never
returned to VICTIM 1.

8. Between October 2023 and February 2024, on three separate
occasions, VICTIM 1 delivered a total of approximately $701,529 worth of gold

bars to CO-CONSPIRATORS posing as law enforcement agents who picked up
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the gold from VICTIM 1’s residence.

9. In order to coordinate their activities and work together to pick up
cash and gold from VICTIM 1 and others, Defendant Patel and the CO-
CONSPIRATORS communicated with one another through in-person meetings,
mobile application messaging, social media services, and other means.

10. On April 22, 2024, a CO-CONSPIRATOR directed VICTIM 1 to
liquidate an additional approximately $300,000.00 in funds from her bank
account and to purchase four (4) kilograms of gold with those funds.

11. Between April 22, 2024 and May 20, 2024, Defendant Patel
repeatedly searched the internet on his phone for “gold price kg” and “gold price
today.” On May 17, 2024, Defendant Patel sent a message via WhatsApp to a
CO-CONSPIRATOR asking whether the “4kg”—or four kilograms of gold—had
arrived yet.

12. On May 20, 2024, a CO-CONSPIRATOR coordinated with VICTIM
1 to send Defendant Patel—whom he claimed was a federal agent—to pick up the
four kilograms of gold from VICTIM 1’s residence. That same day, Defendant
Patel rented a White Toyota Rav4 in New York, drove from New York to
Delaware, and briefly arrived at VICTIM 1’s residence before driving away and
parking in a nearby park within a mile of VICTIM 1’s residence.

13. Shortly thereafter, a CO-CONSPIRATOR called VICTIM 1 on
the phone and told her that the purported federal agent would arrive to pick up

the gold soon and would say the code word, which was “David.”
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14. At approximately 4:35 pm on May 20, 2024, a CO-CONSPIRATOR
sent Defendant Patel a message via “WhatsApp” stating, “go.” That message was
traced to Patel’s phone from an IP address emanating in India.

15. Within approximately ten minutes of receiving that message,
Defendant Patel arrived in a White Toyota Rav4 in front of VICTIM 1’s residence.
A law enforcement officer—acting undercover as VICTIM 1—departed VICTIM
Vs residence with a package containing fake gold bars and approached the
passenger-side window of Defendant Patel’s vehicle. Defendant Patel said the
code word, twice: “David, David.” The law enforcement officer then placed the
package in passenger seat of Defendant Patel’s vehicle, who drove away from
VICTIM 1’s residence before he was thereafter arrested.

Charging Paragraph

16. From in or around May 2023 to in or around May 2024, in the
District of Delaware and elsewhere, Defendant Rakeshkumar Patel conspired
with the CO-CONSPIRATORS to commit wire fraud in violation of 18 U.S.C.
§ 1348, by knowingly devising a scheme to defraud and, with the intent to
defraud, carrying out that scheme by transmitting a writing by means of wire
communication in interstate commerce, and did so knowing that an objective of
the conspiracy was to commit wire fraud and intending to join together with at

least one other person to achieve that objective.

All in violation of 18 U.S.C. § 1349.
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NOTICE OF FORFEITURE - COUNT 1

Upon conviction of the offenses in violation of 18 U.S.C. § 1349 set forth in
Count 1 of this Information, Defendant Rakeshkumar Patel shall forfeit to the United
States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property constituting, or derived
from, proceeds obtained, directly or indirectly, as the result of such violations,
including but not limited to:

e =>: A forfeiture money judgment of $2,154,889.

If any of the property described above, as a result of any act or omission of the

defendants:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be
divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b) and 28 U.S.C.

§ 2461(c).

SHANNON T. HANSON
Acting United States Attorney

By: /s/ William E. LaRosa
WILLIAM E. LAROSA
Assistant United States Attorney

Dated: April 21, 2025
